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17                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA
18     HYLETE, INC., a Delaware
       corporation,                             Case No. 19-cv-02494 WQH-AGS
19
                      Plaintiff,                DEFENDANTS’ NOTICE OF MOTION
20                                              AND MOTION TO DISMISS AND
       v.                                       MEMORANDUM OF POINTS &
21                                              AUTHORITIES IN SUPPORT OF ITS
       HYBRID ATHLETICS, LLC, a                 MOTIONS TO:
22     Connecticut limited liability company;
       and ROBERT ORLANDO, an                       (1) DISMISS COUNTS 1-6 PER FED.
23     individual,                                      R. CIV. P. 12(B)(6); AND
24                    Defendants.                   (2) STRIKE COUNTS 4-6 PER CAL.
                                                        CODE CIV. PRO. § 425.16
25
                                                Hearing: March 23, 2020
26                                              No Oral Argument Unless Requested by the
                                                Court
27                                              Judge: Hon. William  Q. Hayes
                                                Dept: 14B (14th Floor)
28
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 1                                     NOTICE OF MOTION
 2            PLEASE TAKE NOTICE that on March 23, 2020, or at such other time as the
 3    Court may hear this matter, before the Honorable William Q. Hayes in Courtroom #14B,
 4    14th Floor of the United States District Court for the Southern District of California,
 5    James M. Carter and Judith N. Keep Courthouse, located at 333 W. Broadway, San
 6    Diego, California, Defendants Hybrid Athletics, LLC and Robert Orlando (collectively,
 7    “Hybrid”) will and hereby do respectfully move the Court to dismiss Counts 1-6 of
 8    Hylete, Inc.’s Complaint pursuant to Fed. R. Civ. P. 12(b)(6) and strike Counts 4-6
 9    pursuant to Cal. Code Civ. P. § 425.16. In addition, Hybrid respectfully requests that it
10    recover from Hylete its attorneys' fees and costs incurred in defending this action. Code
11    of Civil Procedure Section 425.16, subdivision (c), mandates that a prevailing defendant
12    “shall” recover such monies. Hybrid further requests that it recover from Hylete its
13    attorneys’ fees related to Hylete’s Lanham Act claim pursuant to 15 U.S.C. Section
14    1117(a).
15    Dated: February 18, 2020               Respectfully submitted,

16                                           By:/s/ Justin Nahama, Esq._____________
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17
                     FOR THE SOUTHERN DISTRICT OF CALIFORNIA
18
       HYLETE, INC., a Delaware
19     corporation,                             Case No. 19-cv-02494 WQH-AGS
20                    Plaintiff,                DEFENDANTS’ MEMORANDUM OF
                                                POINTS & AUTHORITIES IN SUPPORT
21     v.                                       OF ITS MOTIONS TO:
22     HYBRID ATHLETICS, LLC, a                   (1) DISMISS COUNTS 1-6 PER FED. R.
       Connecticut limited liability company;         CIV. P. 12(B)(6); AND
23     and ROBERT ORLANDO, an
       individual,                                (2) STRIKE COUNTS 4-6 PER CAL.
24                                                    CODE CIV. PRO. § 425.16
                      Defendants.
25                                              Hearing: March 23, 2020
                                                No Oral Argument Unless Requested by the
26                                              Court
                                                Judge: Hon. William  Q. Hayes
27                                              Dept: 14B (14th Floor)
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 1        I.       Introduction
 2             Defendants Hybrid Athletics, LLC, (“Hybrid”) and Robert Orlando (“Orlando”)
 3    (collectively, “Hybrid”), respectfully move to dismiss and/or strike all counts of Plaintiff
 4    Hylete, Inc.’s (“Hylete”) Complaint, Dkt. 1 (“Hylete Compl.”).
 5             First, Counts 4-6 of Hylete’s Complaint must be stricken pursuant to California’s
 6    Anti-SLAPP statute, Cal. Civ. P. Code § 425.16. Hylete’s claims were filed to retaliate
 7    against Hybrid for protecting and enforcing its trademark rights against Hylete and its
 8    founders for their willful and intentional infringement. Hylete cannot show that it has any
 9    probability of success on the merits of these claims. Moreover, Hylete cannot identify a
10    single false statement by Orlando. Hylete’s gamesmanship should not be condoned.
11             By way of brief background, in 2013 Hybrid filed an opposition proceeding before
12    the Trademark Trial and Appeal Board to prevent Hylete from registering its infringing
13        logo. Ex. 2.1 After a full trial, the TTAB determined Hylete’s     logo was likely to
14    cause confusion with Hybrid and its       trademark and precluded registration of Hylete’s
15        logo. Ex. 3 at 22. After unsuccessfully seeking reconsideration before the TTAB, the
16    Federal Circuit unanimously upheld the TTAB’s finding on appeal and further denied
17    Hylete’s request for Reconsideration and Rehearing En Banc. See Exs. 4 & 51. Hybrid’s
18    parallel proceeding against Hylete and its founders alleging willful infringement, filed in
19    2017, remains pending in the District of Connecticut (“CT Action”). Ex. 5.
20             Hylete’s frivolous, vindictive action was filed to harass and intimidate Hybrid and
21    its sole owner, Mr. Orlando, and to chill and suppress Orlando’s constitutional right to
22    petition. Hylete brought this case in retaliation of Hybrid’s successful enforcement of its
23    trademarks against Hylete. Tellingly, Hylete’s CEO emailed Mr. Orlando directly and
24    threatened that if Hybrid did not walk away from the CT Action, he would “relish in
25
26    1
       Unless otherwise noted, citations to “Ex.” refer to exhibits listed in the Table of
27    Exhibits above and attached to the Declaration of Michael J. Kosma (“Kosma Dec.”).
      Citations to exhibit page numbers refer to the page number of the exhibit and do not
28    count the exhibit cover page.
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 1    [Orlando] losing everything [he] own[s]” and will “decimate” Orlando and his family.
 2    Ex. 1. Hylete knows its claims have no basis in law or fact and for this reason Hylete
 3    must be sanctioned, its claims must be dismissed or stricken, and Hybrid must be
 4    awarded its attorneys’ fees for this Motion.
 5            In its complaint, Hylete identifies seven statements that fit into three categories: (a)
 6    three private statements by Orlando concerning Hybrid’s successful litigation against
 7    Hylete; (b) two public Facebook posts correcting actual consumer confusion; and (c) two
 8    independent third-party statements by third-party CrossFit, Inc. employees, with which
 9    Hybrid or Orlando had no involvement (collectively, the “Asserted Statements”).
10            All the Asserted Statements made by Orlando are non-actionable opinion and/or
11    were made to further the objective of curtailing Hylete’s infringement. As such, Hylete
12    cannot identify a single false statement by Orlando. The Asserted Statements by Orlando
13    directly led to and resulted in Hybrid filing the TTAB administrative proceeding and CT
14    Action, where they have been used as evidence. Because these statements are made
15    pursuant to Hybrid’s Constitutional right to petition, Hylete’s claims must be stricken per
16    California’s anti-SLAPP statute. Moreover, not only are the Asserted Statements made by
17    CrossFit not actionable, because Hylete cannot establish that Orlando directed,
18    controlled, solicited, or influenced these statements, the counts based on these statements
19    must also be stricken.
20            Accordingly, Counts 4-6 of Hylete’s Complaint must be stricken pursuant to
21    California’s Anti-SLAPP statute, Cal. Civ. P. Code § 425.16
22            Second, Counts 1-6 must be dismissed for failure to state a claim. Regarding
23    Counts 1 and 2, Hylete failed to plead any facts that can give rise to fraud, and they
24    cannot be brought because of defendant preclusion arising from the CT Action. Counts 3-
25    6 must be dismissed because the complained-of acts are protected by litigation privilege,
26    and/or Hylete has failed to show necessary elements. For example, Hylete cannot prove
27    that the Asserted Statements are false and/or misleading.
28            Finally, all counts are barred by the statute of limitations or laches.
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 1         II.      Relevant Background
 2               Hylete has identified seven Asserted Statements that form the basis of its
 3     complaint. The background and identification of each statement is provided below.
 4               A. Events Leading to Hybrid’s 2013 Opposition of Hylete’s        Logo
 5               Hybrid is a dynamic, multifaceted fitness company and well-known brand founded
 6     in 2008 and owned and operated by Mr. Orlando—a famous CrossFit and Strongman
 7     athlete. Ex. 6 at ¶¶ 1-2, 10-15, 28, 29, 38. Hybrid offers and conducts various fitness and
 8     health services, such as training and fitness classes, and sells apparel and training
 9     equipment. Id. at ¶¶ 6-9. Hybrid’s goods and services are sold under Hybrid’s
10     trademarks, which it owns at common law and through U.S. Reg. Nos. 4722185
11     (“HYBRID ATHLETICS”), and 4480850 and 4609469 (                  logo) (collectively,
12     “Hybrid’s Marks”). Id.; Ex. 5 at 34-39.
13               Hylete is a fitness apparel company founded by Ronald Wilson (“Wilson”) and
14     Mathew Paulson (“Paulson”). Ex. 5 at ¶¶ 9, 12, 49-50; Ex. at 7 ¶¶ 9, 12, 49-50; Ex. 8 at
15     ¶¶ 9, 12, 49-50. Hylete is the owner of U.S. Reg. No. 4318646 for the trademark
16     “HYLETE”, and App. No. 85837045 for the logo             . Ex. 5 at ¶¶ 53, 54; Ex. 7 at ¶¶ 53,
17     54; Ex. 8 at ¶¶ 53, 54.
18               Prior to forming Hylete, Wilson and Paulson witnessed first-hand Hybrid’s Marks
19     and success in selling athletic apparel through a co-branding relationship that began in
20     2010 between Hybrid and a company called “JACO”. See Ex. 5 at ¶¶ 83-86, 95-100, 117-
21     123, and Exhibits E & F thereto; Ex. 7 at ¶¶ 83-86, 95-100, 117-123; Ex. 8 at ¶¶ 83-86,
22     95-100, 117-123. JACO manufactured athletic shorts co-branded with Hybrid’s               logo.
23     Ex. 5 at ¶ 83; Ex. 7 at ¶ 83; Ex. 8 at ¶ 83. JACO was started by Wilson, who designed the
24     co-branded shorts. Ex. 5 at ¶¶ 110, 115, 117, 123; Ex. 7 at ¶¶ 110, 115, 117, 123; Ex. 8 at
25     ¶¶ 110, 115, 117, 123. Paulson acted as a sales director and marketing manager for
26     JACO, serving as one of Orlando’s main contacts at JACO. Ex. 5 at ¶¶ 89-92; Ex. 7 at ¶¶
27     89-92; Exhibit 8 at ¶¶ 89-92. The co-branded JACO shorts were popular—Hybrid could
28     not keep the shorts in stock because JACO could not manufacture and fulfill orders fast
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 1     enough. Ex. 5 at ¶ 86; Ex. 7 at ¶ 86; Ex. 8 at ¶ 86.
 2              On March 2, 2012, Paulson met Orlando face-to-face for the first time at a fitness
 3     competition to try to sign Orlando to JACO as a strategic partner. Ex. 5 at ¶ 97; Ex. 7 at ¶
 4     97; Ex. 8 at ¶ 97. Soon afterwards, on March 16, 2012, Wilson—a mentor to Paulson—
 5     was fired from JACO. Ex. 5 at ¶ 99; Ex. 7 at ¶ 99; Ex. 8 at ¶ 99.
 6              Mere days after Wilson’s firing, he allegedly created the Hylete brand, which
 7     initially comprised an ‘H’ logo (      ) and a shortened version of the words “hybrid” and
 8     “athlete” (i.e., “Hylete”). Ex. 5 at ¶¶ 99-100, 106, and Exhibit D thereto, page 2; Ex. 7 at
 9     ¶¶ 99-100, 106; Ex. 8 at ¶¶ 99-100, 106. Wilson designed Hylete’s confusingly similar
10     logo (       ) and name (“Hylete”) as a result of seeing Hybrid’s logo (   ), name (“Hybrid
11     Athletics”), and business success, reputation and goodwill while Wilson worked at
12     JACO, and Hylete sought to trade off the same. See Ex. 5 at ¶¶ 83-86, 95-100, 117-123,
13     and Exhibits E & F thereto; Ex. 7 at ¶¶ 83-86, 95-100, 117-123; Ex. 8 at ¶¶ 83-86, 95-
14     100, 117-123. Even the font Wilson chose for the name “Hylete” was the exact same as
15     Hybrid’s: Eurostile. Ex. 5 at Exhibit D thereto, pages 3, 5. Hylete filed a trademark
16     application for the       logo on January 30, 2013. Ex. 5 at ¶ 53; Ex. 7 at ¶ 53; Ex. 8 at ¶ 53.
17              Soon after Wilson’s firing, Paulson left JACO to join Hylete. Ex. 5 at ¶ 103; Ex. 7
18     at ¶ 103; Ex. 8 at ¶ 103. Paulson again contacted Orlando trying to sign him as a strategic
19     partner, this time for Hylete. See Ex. 5 at ¶ 104; Ex. 7 at ¶ 104; Ex. 8 at ¶ 104. However,
20     Orlando refused to work with Paulson, Wilson, or Hylete, in any capacity, after he
21     discovered their willful infringement and copying of Hybrid’s Marks. Orlando first saw
22     Hylete’s name and          logo in April 2012 when Paulson sent Orlando a marketing packet.
23     Ex. 5 at ¶ 105; Exs. 10 and 58.2 Orlando immediately wrote Paulson noting the confusing
24     similarities. Ex. 5 at ¶ 106 and Exhibit D thereto, page 8; Ex. 7 at ¶ 106; Ex. 8 at ¶ 106.
25     Paulson acknowledged Orlando’s concerns. Ex. 5 at Exhibit D thereto, pages 2-3.
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       2
27      Exhibits with exhibit stickers identifying Opposition No. 91213057 are publicly
       available on the Trademark Trial and Appeal Board Inquiry System
28     (https://ttabvue.uspto.gov/ttabvue/v?pno=91213057&pty=OPP).
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 1             Since that time, the confusing similarity between Hylete’s and Hybrid’s brands has
 2     led to innumerable instances of consumer confusion in the marketplace. For example,
 3     Orlando summarized his general experiences of confusion as follows:
 4           I’m at the [CrossFit] games. I’m at the [CrossFit] regionals. I’m at a vendor
             booth. I’m walking through an airport and somebody walks up to me and says,
 5           “hey, dude, I just picked up your new shirt,” and they have got the Hylete shirt
 6           on . . . [t]he angle that I’ve taken consistently is just quietly, quietly explain
             the situation in a way that doesn’t tear apart anyone’s business. . . . [T]his stuff
 7           happens everyday.
 8     Ex. 9 (R. Orlando Sep. 3, 2015 Depo. Tr.) at 124:22-125:25. Many of these instances of
 9     confusion have been recorded in documents and testimony.
10             For instance, on March 10, 2013, a man named Jesse Clay wrote Orlando on
11     Facebook saying Orlando “should investigate HYLETE…unless they r [sic] a branch of
12     Hybrid they chicken hawked your logo…heads up.” Ex. 11. On March 11, 2013, Paulson
13     responded to Orlando’s forward of Jesse Clay’s message and even admitted that Hylete
14     was experiencing consumer confusion. Ex. 12. That same day, Orlando corresponded
15     with a man named Glenn Robinson (“Robinson”) about Paulson’s response. Ex. 13.
16     Robinson and Wilson had been embattled in litigation after Wilson left JACO. Ex. 14.
17             Orlando was outraged that Hylete knocked off Hybrid’s brand and privately told
18     Robinson, who he knew personally and had worked with at JACO, he                Redacted

19                                                                                      Ex. 13 at 2
20     (“Asserted Statement #1”); cf. Hylete Compl. ¶ 21. Robinson put Orlando           Redacted

21                               Ex. 13 at 1.
22             A few months later in May 2013, CrossFit held a Regional event in Canton,
23     Massachusetts at which Hylete was an exhibitor. At the Regional event, Dale Saran,
24     former General Counsel of CrossFit, saw Hylete’s booth next to Hybrid’s and was
25     instantly confused as to an association between Hylete and Hybrid. He approached Mr.
26     Orlando and inquired whether Hylete was Hybrid’s new partner. See Ex. 15 (D. Saran
27     Aug. 4, 2015 Depo. Tr.) at 67:8-68 :19. Dave Castro, Director of the CrossFit Games,
28     saw Hylete’s booth at another CrossFit regional that year and asked a Hylete
                                        5                                                  19cv02494
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 1     representative, “Oh, [Orlando’s] selling here, is he here?” Ex. 16 (D. Castro Sep. 9, 2015
 2     Depo. Tr.) at 38:2-39:10. According to Mr. Castro, Hylete’s        logo “looked exactly
 3     like” Hybrid’s trademark with “a few tweaks.” Id. He thought Hybrid had expanded its
 4     clothing line and that Hylete was Orlando’s brand. Id. As explained below, Castro’s
 5     testimony was later confirmed by Hylete’s own employee, Jennifer Null. Ex. 33 (J. Null
 6     Oct. 28, 2015 Depo. Tr.) at 38:16-39:7.
 7             B. Consumer Confusion Compels Orlando’s Response
 8             The constant consumer confusion caused by Hylete’s        logo necessitated
 9     corrective responses from Orlando. For instance, in response to Jesse Clay, Orlando
10     responded that he was “well aware of” Hylete and that the “[b]est way to fight this kind
11     of thing is to boycott their product.” Ex. 11 (“Asserted Statement #2”); cf. Hylete
12     Compl. ¶¶ 23, 27-28. Orlando testified as follows:
13             Q.    Have you ever told anyone not to buy Hylete brand apparel?
14             A.    Yes, online. I believe there was a Facebook post that came in,
                     somebody sent me a message and they were -- they said, hey, these
15                   logos are similar, you know, and I think I responded back something
16                   like, you know, the best thing you can do in this situation is not support
                     them and buy their gear.
17
       Ex. 17 (R. Orlando Mar. 20, 2019 Depo. Tr.) at 27:2-10. Orlando always strived to be fair
18
19     and balanced in correcting confusion:
             Q.    Apart from that incident, have you ever said anything -- have you ever
20                 told anyone not to buy Hylete gear?
21           A.    No, quite the contrary actually. One of the instances of confusion that I
                   had was with Jay Layden, and one of the conversations that I had with
22                 him when I walked into his gym and I saw all the gear in there, and we
23                 had a very straightforward conversation about Hylete, because he just
                   thought that he was buying my gear. I actually said to him, look, if they
24                 give you great prices -- they make good stuff -- if they give you great
25                 prices, you do what you gotta do. So that was a conversation that I had
                   with Jay.
26
                                                  ...
27           Q.    You don’t want to destroy [Hylete’s] business?
             A.    No. Like I said, I’ve had conversations with people and I’ve told, you
28
                                        6                                                19cv02494
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 1                   know, one person, the best way to boycott this is not to buy their
                     product, and the best way to fight this is to not buy their product. But
 2                   I’ve also told people, hey, if you’re a gym owner, because I understand
 3                   this from the perspective of a small business owner, somebody who is
                     trying – you’re trying to put things together, you’re trying to put some
 4                   revenue on the table, that if you can buy gear and you get a great deal
 5                   from Hylete and you’re going to put your logo on it and you’re going
                     to sell it to your members and they give you the best deal, then you
 6                   gotta do what you gotta do as a business. So I don’t begrudge a small
 7                   business owner trying their best to [w]ring out a little bit of profit from
                     their business.
 8                                                 ...
 9             Q.    When was the last time you had a conversation with a consumer telling
                     them something similar to the best way to deal with this type of thing
10                   is to not buy their product?
11             A.    The last time was sometime in the last year when, like I think I
                     mentioned it earlier, there’s a woman that comes in with Hylete gear,
12                   and I mentioned to her that, you know, they’re not me, that’s not my
13                   brand, it’s not my logo, and she was immediately mad and pissed. And
                     I said, well, then don’t buy their stuff anymore. That’s about how casual
14                   it is, and I don’t go into some long diatribe about, you know, who they
15                   are and what’s going on. I don’t -- I don’t divulge that stuff because it’s
                     -- I don't want to make her uncomfortable, and I don’t want to make the
16                   situation even worse.
17     Ex. 17 at 27:13-28:1, 188:14-189:5, and 191:2-18; cf Hylete Compl. ¶¶ 23, 27-28.
18             Moreover, Orlando did not instruct Hybrid’s employees to speak poorly of Hylete,
19     but conversations with consumers were necessitated by the constant confusion. Ian
20     Jentgen, former head trainer of Hybrid Athletics, testified as follows:
21           Q.     Did Mr. Orlando ever tell you what to say to people if they asked you
                    about Hylete?
22
             A.     He didn't instruct me or give me direct -- you know, a canned response.
23                                               ...
             Q.     Did [Orlando] ever tell you to tell people to boycott Hylete?
24
             A.     Again, I don't think he specifically told me to boycott Hylete, but -- he
25                  could have said, boycott Hylete, but it in many ways went without
                    saying, that that was the position.
26
             Q.     Yeah, again, I'm not asking the specific words. I understand it’s hard to
27                  remember exactly what somebody said --
28           A.     I think it was implied. Is that fair?

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 1                                               ...
               Q.    Again, I don't need a specific date. I'm just generally -- what year or
 2                   month [was it implied], if you remember?
 3             A.    I think it was predicated on instances of confusion. So when there was
                     an instance of confusion, that’s when it would be brought up. So if I
 4                   look back to the CrossFit regionals, that was potentially when it was
 5                   first brought up.

 6     Ex. 18 (I. Jentgen Apr. 3, 2019 Depo. Tr.) at 104:9-12, 105:5-14, and 105:18-106:2; cf.

 7     Hylete Compl. ¶¶ 23, 27-28.
 8             C. CrossFit, Inc. Bans Hylete from CrossFit Events                          Redacted

 9
10             Because Hylete and Hybrid were each selling goods at CrossFit events, Hylete’s
11     intentional use of marks that are confusingly similar to Hybrid’s Marks necessarily
12     involved CrossFit, Inc. (“CrossFit”). Orlando at the time was a Strongman Subject Matter
13     Expert for CrossFit and conducted seminars on behalf of CrossFit as an ambassador of
14     CrossFit’s fitness regimens. Ex. 6 at ¶¶ 23-24. After CrossFit held a Regional event in
15     Canton, Massachusetts,                                        Redacted

16                                                                . Ex. 12.                Redacted

17
18
19                                                                                 . Ex. 19.
20             As a result, on June 12, 2013, counsel for Hylete sent a letter to CrossFit’s then-
21     General Counsel, Saran. Ex. 20. Hylete’s letter provided that            Redacted
                                                                                           Redacted

22
23
24
25                                              Id. On June 23, 2013, Saran responded to Hylete’s
                                            Redacted




26     counsel as follows:
27                                                     Redacted
28
                                        8                                                             19cv02494
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                                                  Redacted
 1
 2
 3
 4
 5
 6
                                                  Redacted
 7
 8                                                     ...
                                                  Redacted
 9
10     Ex. 21 (“Asserted Statement #3”).
11             Still further, CrossFit’ corporate representative, Dave Castro, testified in the CT
12     Action that                                       Redacted
13
14
15                  Ex. 22 (D. Castro Dec. 20, 2019 30(b)(6) Depo. Tr.) at 195:25-196:12. Redacted
16
17                                 Id. at 196:14-23.
18
               Saran has also testified that it was he who banned Hylete and he did so:
19
                                                  Redacted
20
21
22
23
24
25
26
       Ex. 53 (D. Saran Jan. 8, 2020 Depo. Tr.) at 74:15-75:3.
27
               After Saran sent his letter to Hylete, Orlando privately forwarded the text of
28
                                        9                                                 19cv02494
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 1     Saran’s letter to Robinson because Robinson was aware of Hylete’s infringement and
 2     theft of Hybrid’s brand and trademarks. See Ex. 24; Ex. 17 at 129:13-18. Orlando stated
 3     to Robinson “I told you I would crush those idiots.” Ex. 24 (“Asserted Statement #4”);
 4     cf. Hylete’s Compl. ¶¶ 21, 24. Orlando further testified that he was pleased about
 5     Hylete’s ban as it was a fair result for a willful infringer:
 6             Q.    So if I understand your testimony correctly, it wasn’t your goal to
 7                   destroy [Hylete’s] business, but you are happy that this happened, that
                     CrossFit banned them; correct?
 8             A.    It made me happy to see them suffer and be uncomfortable.
 9
       Ex. 17 at 201:19-25. Mr. Orlando elaborated:
10           A.     To me, this -- this email was like, it felt like they were -- Hylete was
11                  making an appeal to CrossFit and CrossFit, the games, had my back
                    and said, no, no, we're not going to let you be here. That felt good.
12
       Ex. 17 at 203:16-23; cf. Hylete’s Compl. ¶¶ 21, 24.
13
               D. Rampant Confusion Continues Between Hylete and Hybrid
14
               Even after Hylete was banned from CrossFit events, Hybrid continued to
15
       experience consumer confusion in the marketplace. On July 28, 2013, a man named
16
       Yusuke Aonuma emailed Orlando that he “see[s] a lot of people wearing Hylete clothing
17
       and postings on Facebook. Does it have anything to do with Hybrid Athletics? The logo
18
       looks a lot like Hybrid and the name is very similar so was just wondering.” Ex. 25. In
19
       September 2013, Matt Tuthill, former Deputy Editor of Muscle and Fitness, saw Hylete’s
20
       2013 Mr. Olympia Competition booth and thought “Rob Orlando had gotten himself a
21
       booth . . . [and] . . . took a screen grab and sent it to him, and then I said have you
22
       licensed out the Hybrid Athletics logo. You know, I was curious if he had entered into
23
       some kind of distribution deal.” Ex. 26 (M. Tuthill Aug. 5, 2015 Depo. Tr.) at 26:24-
24
       27:10. In or around October 2013, a woman named Miki Carey, a gym owner and an
25
       athletic apparel consumer, thought (1) “Hylete” “sounded the same” as “Hybrid
26
       Athletics,” (2) the companies were “one and the same,” and (3) “there was some sort of
27
       affiliation[] with the companies” because of the “similar names.” Ex. 27 (M. Carey Dec.
28
                                        10                                                19cv02494
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 1     3, 2018 Depo. Tr.) at 49:24-50:3 and 157:10-14. In anticipation of Mr. Orlando coming to
 2     do a seminar at her gym, the gym bought “a bunch” of Hylete shirts. Id. at 35:17-36:7.
 3     She was “very excited to show [Orlando] that . . . [she] had something that had his logo
 4     on there. Id. Ms. Carey testified that leading up to that time she was confused she had
 5     been visiting Hybrid’s gym website a “couple [of] times a week” to see workouts posted
 6     by Hybrid. Id. at 170:12-16. Ms. Carey testified Orlando did not say anything negative
 7     about Hylete and did not tell her not to purchase Hylete products. Id. at 76:16-24.
 8             E. Hybrid Opposes Hylete’s Trademark Application for         on the Basis of a
 9                  Likelihood of Confusion
10             In direct response to ongoing consumer confusion in the marketplace caused by
11     Hylete’s use of confusingly similar marks, Hybrid initiated a TTAB opposition
12     proceeding against Hylete’s trademark application for its      logo in October 2013. Ex. 2.
13             Hybrid continued to obtain additional evidence and testimony of confusion while
14     the TTAB proceeding was pending. On December 5, 2013, man named Drake Rodriguez
15     messaged Orlando on Facebook and asked “[h]ow do [you] feel about Hylete athletics[]
16     basically copying your logo and name?” Ex. 28. On December 24, 2013, a man named
17     Syncere Martinez emailed Orlando and told him “something has to be done with Hylete!
18     It’s a blatant rip off of the Hybrid Athletics brand! . . . [T]he “H” and the term Hybrid
19     Athlete is something you have created in the CrossFit Community.” Ex. 29. On January
20     23, 2014, a man named Eric Lester messaged Orlando on Facebook and asked “[i]s
21     ‘Hylete’ associated with Hybrid Athletics? Their name and logo is more than a little
22     similar but I can’t find anything on their site to indicate it.” Ex. 30. Orlando responded
23     “absolutely not. They have nothing to do with Hybrid Athletics.” Id. (“Asserted
24     Statement #5”). On February 26, 2014, a man named Zach Even-Esh emailed Orlando
25     and stated that he “chatted with a Hylete rep in Miami and thought they were your
26     apparel line. I know I saw you were working with them before my man but just checking
27     in to see if this is legit.” Ex. 31.
28             Hybrid also obtained additional trial testimony of consumer confusion at the
                                        11                                              19cv02494
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 1     TTAB: Jason Leydon, owner of CrossFit Milford in Connecticut, ordered shorts from
 2     Hylete co-branded with his gym’s logo. When he received them, he thought “it look[ed] a
 3     lot like the Hybrid H. There was confusion. . . . I thought that Rob had some sort of role
 4     in it because the H’s are similar . . . When my wife saw the shorts when we first got them,
 5     again she thought Rob had took on some sort of clothing line because the H’s were very
 6     similar.” Ex. 32 (J. Leydon Sep. 4, 2015 Depo. Tr.) at 23:3-14.
 7             Jennifer Null, former Director of Sales at Hylete (and now an independent third
 8     party), corroborated Mr. Castro’s confusion at a 2013 CrossFit Regional event, testifying
 9     that Dave Castro was “having this conversation with this kid Keith. And so as soon as he
10     walked away, I went up to Keith and said, ‘What did he say to you?’ He said, ‘He asked
11     if we had an affiliation with Rob Orlando.’ . . . I went right up to Dave and said, ‘Dave,
12     just so you know, we have nothing to do with Rob Orlando.’” Ex. 33 at 38:21-39:6.
13             Ian Jentgen also testified he saw the Hylete logo for the first time and asked
14     Orlando “what’s going on here? It’s like exactly us. Like are you involved with them?”
15     Ex. 34 (I. Jentgen Jul. 29, 2015 Depo. Tr.) at 91:18-20. Jentgen stated, “I was confused. I
16     thought [Orlando] would have had some relationship with them . . . and we saw people
17     who were confused throughout the weekend as to what was going on.” Id. at 91:24-95:6.
18             On September 11, 2015, Orlando again privately responded to an email from
19     Robinson about JACO “making a comeback.” Ex. 35 at 1. Orlando privately remarked
20     that he was “kicking the shit out of Hylete.” Id. (“Asserted Statement #6”); cf. Hylete’s
21     Compl. ¶ 21. At this point in the opposition, Hybrid had successfully (1) moved to
22     compel discovery from Hylete, Ex. 36, (2) obtained an order for sanctions against Hylete,
23     Ex. 37, and (3) obtained substantial testimony of actual confusion, including testimony of
24     actual confusion that was corroborated by Hylete’s own witness (as shown above).
25             In March 2016, the opposition proceeded to a full trial before the TTAB. See Ex.
26     38. Hybrid’s TTAB Trial Brief detailed Hylete’s willful infringement and copying and
27     relied on many of the documented communications above. Id.; see also Ex. 6 at ¶ 49
28     (filed on summary judgment). On December 15, 2016, Hybrid’s opposition was
                                        12                                               19cv02494
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 1     sustained. Ex. 3 at 22. Specifically, the TTAB determined Hybrid’s common law rights in
 2     its     logo and that there was a likelihood of confusion between Hybrid’s logo and
 3     Hylete’s logo based in part on significant evidence of actual confusion. Id. at 17-22.
 4     Hylete unsuccessfully sought reconsideration, which the Board denied on October 18,
 5     2017. Ex. 39. Hylete’s failure at reconsideration led Hylete to appeal the TTAB’s
 6     determination to the Federal Circuit.
 7             F.                                Redacted

 8             During the TTAB Opposition, Hylete was fundraising its infringing brand on
 9     CircleUp. In August 2015, a woman named                                 Redacted

10                                                  . On August 3,                    Redacted

11                                          . Ex. 40.                          Redacted

12                       Id. On August 6, 2015,                         Redacted

13
14                                                                                 Ex. 41. However, Redacted
15
16
17                        Id. (collectively, “Asserted Statement #7”).              Redacted

18
19                                                                     . Id.     Redacted

20                                                                                     id., which was in
21     fact the eventual result of the TTAB opposition proceeding. Both Orlando and Saran later
22     testified that Orlando did not ask                   Redacted                   and did not have
23     any input in these emails. Ex. 17 at 194:5-195:23; 105:17-106:15 (testifying as to Exs. 40
24     and 41).                                         Redacted

25                        . Ex. 23:88:10-89:2.
26             G. Hybrid Files District Court Action for Willful Trademark Infringement and
27                  Uncovers Additional Confusion Evidence
28             On October 23, 2017, Hybrid filed an action for, inter alia, willful infringement
                                        13                                                       19cv02494
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 1     and copying against Hylete in the United States District of Connecticut. Ex. 5. Related to
 2     Hybrid’s allegations, Orlando testified he thinks Hylete stole Hybrid’s Marks and has
 3     told people that Hylete is a willful infringer:
 4            Q.    You think Matt stole your logo; right?
              A.    I think Hylete stole my logo.
 5            Q.    You don’t think Matt did it himself?
 6            A.    I think he was part of it.
              Q.    What do you think he did?
 7            A.    I think he took the H and then took Hybrid Athletics and smashed those two
 8                  words together to create Hylete, added some tweaks to the H
                                                     ...
 9            Q.    Did you ever tell anyone that Hylete copied your marks?
10            A.    I don’t know if I used the word “copied” or if I used the word “stole,” but
                    yeah, I’ve told people that.
11            Q.    When is the last time you can remember when you told someone that Hylete
12                  stole your mark?
              A.    One of – it’s just one of those conversations at the gym, but I don’t
13                  remember whether it’s last six months or twelve months or three months.
14                  They are all kind of generic.

15     Ex. 17 at 104:16-23 and 191:19-192:5.

16             On July 27, 2018, Hybrid moved to amend its complaint to add Wilson and

17     Paulson personally in view of newly-discovered evidence that specifically rebutted

18     Wilson and Paulson’s sworn testimony that Wilson had never seen the Hybrid marks

19     before designing the Hylete marks. See Ex. 42 at 29. Hybrid received this email evidence

20     from Robinson, which showed that Paulson had emailed Wilson a video showing

21     Hybrid’s      trademark while Wilson worked at JACO and requested that Wilson post the

22     video to JACO’s Facebook. Hybrid’s Motion to Amend was granted. Ex. 43.

23             After receiving this information, Hybrid deposed a former acting President of

24     JACO, Karen Gough, who was copied on Paulson’s email to Wilson. Ex. 42 at 29. Ms.

25     Gough confirmed that at the time Paulson emailed Wilson, Wilson “was the only person

26     who had the passwords and the ability to post on JACO’s Facebook.” Ex. 57 at 35:9-11.

27     Ms. Gough further testified that Wilson knew of Orlando, and saw Hybrid’s logo while at

28     JACO based on the videos that were posted on Facebook, which have the logo present.

                                        14                                            19cv02494
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 1     Gough testified the videos “were posted on Facebook by Mr. Wilson.” Id. at 47:24-52:4-
 2     15; see also id. at 60:5-8; id. at 92:25-93:14.
 3             While Hylete’s answer to Hybrid’s Amended Complaint included counterclaims
 4     against Hybrid, Hylete did not bring a fraud claim against Hybrid’s       trademark. Ex. 44.
 5     On May 10, 2019, Hylete sought to amend its complaint to add, inter alia, a fraud claim
 6     against Hybrid’s      trademark and tort claims against Orlando. Ex. 45. Hybrid
 7     successfully opposed many of the new claims.
 8             Meanwhile during the CT Action, Hybrid obtained additional testimony regarding
 9     actual confusion. Ms. Null testified again in the District Court proceeding, this time
10     adding that people would ask her about Hylete, saying, “Oh, this is Rob Orlando’s brand,
11     right?” Ex. 46 (J. Null Oct. 25, 2018 Depo. Tr.) at 51:15-16 and 53:5-6. She further
12     testified regarding an instance where a person had a Hybrid t-shirt and called it a Hylete
13     t-shirt and another instance where a consumer tried to return a Hybrid shirt to Hylete. Id.
14     at 56:18-24 and 142:25-143:23.
15             In May 2019, Hybrid once again experienced additional confusion exhibited by a
16     social media influencer named Ryan Fischer, who is a CrossFit gym owner and author
17     who produces, hosts, and disseminates a podcast, “Real Chalk.” Hylete sponsored three
18     episodes of Mr. Fischer’s podcast that aired in May 2019 (Real Chalk Episodes 74, 75,
19     and 76). In promoting Hylete and its goods, Mr. Fischer was confused between Hylete’s
20     and Hybrid’s brands and during Hylete’s paid promotions on his podcast stated multiple
21     times that Robert Orlando started and owns Hylete. Ex. 47 (R. Fischer Jul. 1, 2019 Depo.
22     Tr.) at 46:10-12, 53:20-24, and Exhibits 414 and 419 thereto.
23             Mr. Fischer testified: “I genuinely thought that Hylete and Hybrid were like -- at
24     that moment I didn’t know the difference . . . Like, I had heard -- I had heard of Hylete
25     before and I’d heard of Hybrid before, and like when I heard one over the other, I just
26     never -- I never thought of them as two separate things.” Id. at 47:7-15. When asked why
27     Mr. Fischer thought Hylete and Hybrid were the same, he said “[t]hey sound the same.
28     The logo is pretty similar. They’re both in the CrossFit space.” Id. at 48:16-17.
                                        15                                              19cv02494
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 1             H. Hylete Threatens Orlando with a New Lawsuit After Losing its Federal Circuit
 2                  Appeal, its Motion to Amend in the CT Action, and its Requested En Banc
 3                  Review of Federal Circuit Appeal
 4             On August 1, 2019, the Federal Circuit unanimously affirmed the TTAB’s
 5     determination of a likelihood of confusion. Ex. 4.
 6             On August 30, 2019, the CT Court partially denied Hylete’s request for leave to
 7     amend. Ex. 48. Specifically, the CT Court denied Hylete leave to add a fraud claim
 8     against Hybrid’s       trademark because it would “be unfairly prejudicial to Hybrid . . . at
 9     this advanced stage of litigation.” Ex. 48 at 24. The Court also denied Hylete leave to
10     bring claims against Orlando because the claims were “not responsive to the new
11     allegations in the Amended Complaint, would expand dramatically the scope of this
12     litigation, and are likely to require a new period of discovery concerning the alleged
13     statements of Hybrid and Mr. Orlando” resulting in “undue prejudice to Hybrid.” Ex. 48
14     at 29-30.
15             On September 6, 2019, Hylete moved for reconsideration regarding the Court’s
16     denial of its amendment to allege fraud. Ex. 49. Hylete’s request was denied. Ex. 50.
17             On November 19, 2019, the Federal Circuit denied en banc Hylete’s Request for
18     Rehearing or Rehearing en banc. Ex. 51.
19             On November 21, 2019, Wilson emailed Orlando and told him Hylete has “been
20     green lighted to sue you separately as Hybrid and you personally.” Ex. 1. Wilson told
21     Orlando he would “relish in [Orlando] losing everything [he] own[s]” through litigation
22     that will “decimate” Orlando and his family. Ex. 1.
23             On December 30, 2019, Hylete filed the present lawsuit against Hybrid and
24     Orlando in the Southern District of California.
25         III.     Hylete’s Counts 4-6 Must Be Stricken
26             A. Legal Standard of California’s Anti-SLAPP Statute
27             Hylete’s lawsuit is not grounded in any legitimate claims, but rather is brought to
28     intimidate and harass Hybrid and Orlando. The anti-SLAPP statute, Cal. Code Civ. P.
                                        16                                               19cv02494
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 1     §425.16 et seq., enables a party to file a “special motion to strike” on any “cause of action
 2     against a person arising from any act of that person in furtherance of the person’s right of
 3     petition or free speech.” Cal. Code Civ. P. § 425.16(b)(1). Although the Anti-SLAPP
 4     statute is a creature of California state law, Federal Courts apply the anti-SLAPP statute
 5     to state law claims when exercising supplemental jurisdiction or sitting in diversity. See
 6     Hilton v. Hallmark Cards, 599 F.3d 894, 900 n.2 (9th Cir. 2010) .
 7             Courts apply a two-step inquiry to determine whether a plaintiff’s claims must be
 8     stricken under the anti-SLAPP statute. First, a court determines whether the movant has
 9     made a prima facie showing that the anti-SLAPP statute applies because the lawsuit
10     “arises from an act in furtherance of defendant’s right of petition or free speech.” Mindys
11     Cosmetics, Inc. v. Dakar, 611 F.3d 590, 595 (9th Cir. 2010).
12             Second, if a defendant makes that threshold showing, “the burden shifts to the
13     plaintiff to demonstrate a probability of prevailing on the challenged claims.” Mindys,
14     611 F.3d at 595. To survive this step, the non-movant must “demonstrate that the
15     complaint is both legally sufficient and supported by a sufficient prima facie showing of
16     facts to sustain a favorable judgment if the evidence submitted by the [non-movant] is
17     credited.” Hilton, 599 F.3d at 903 (citations omitted). “[I]f the plaintiff cannot show a
18     probability of prevailing on a claim, the claim is stricken.” Doe v. Gangland Prods., Inc.,
19     730 F.3d 946, 953 (9th Cir. 2013).
20             B. Counts 4-6 Arise Directly Out of Defendants’ Litigation Conduct
21             The Asserted Statements allegedly made by Hybrid and/or Orlando were made
22     immediately prior to or during the TTAB proceeding to cease consumer confusion or to
23     further Hybrid’s claims. Acts taken in furtherance of the right of petition are defined by
24     statute to include:
25                   (4) any other conduct in furtherance of the exercise of the
                     constitutional right of petition or the constitutional right of free
26                   speech in connection with a public issue or an issue of public
27                   interest.
       Hilton 599 F.3d at 903 (9th Cir. 2010).
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 1             If a communication “concern[s] the subject of the dispute” and is made “in
 2     anticipation of litigation,” it falls within section 426.16(e). Adobe Sys. Inc. v. Coffee Cup
 3     Partners, Inc., No. 11-cv-2243-CW, 2012 WL 3877783, at *11-12 (N.D. Cal. Sept. 6,
 4     2012). Courts adopt an expansive view of what constitutes litigation-related activities, as
 5     the Anti-SLAPP law is to be “construed broadly.” Hilton, 580 F.3d at 882-83, 903. Even
 6     where a non-attorney supports litigation-related activity, Courts will strike the
 7     claims. See Ludwig v. Superior Court, 37 Cal. App. 4th 8, 12-13 (1995) (Anti-
 8     SLAPP law applies to both those who “formally fil[e] a lawsuit” and those “who
 9     support[ed] and encourag[ed] the filing of a lawsuit”).
10             In Shire City Herbals, Inc. v. Blue, defendants believed plaintiff’s trademark FIRE
11     CIDER was generic, and therefore, invalid. No. 15-30069-MGM, 2016 WL 2757366 (D.
12     Mass. May 12, 2016) (analyzing Massachusetts’ Anti-SLAPP statute (M.G.L. 231 §
13     59H), which is narrower than California’s Anti-SLAPP statute). As a result, defendants
14     created blog posts and a petition with over 11,000 signatures, organized a boycott of
15     plaintiff’s product, created a website and various Facebook pages that were promoted to
16     approximately 10,000 individuals to cease using plaintiff’s product, and incited others to
17     contact plaintiff’s retail accounts via letters, phone calls, and personal visits to demand
18     plaintiff’s products be removed from their shelves. Id. at *1-*3. Plaintiff alleged that it
19     lost existing and prospective business as a result of defendants’ actions and sued
20     defendants for trade disparagement in violation of the Lanham Act, unfair trade practices,
21     tortious interference with contractual relations, tortious interference with prospective
22     business relations, and trade libel. Id.
23             Defendants filed a special motion to dismiss under Massachusetts’ anti-SLAPP
24     law. The Court granted defendants’ motion, holding that defendants’ actions were
25     protected by their constitutional right of petition. Id. at *4-*7. The Court further held that
26     although defendants may have obtained commercial benefits from their actions,
27     “commercial motivations…[are] irrelevant…[because] [a]ctions can have economic or
28     commercial motives, or even be based entirely on economic self-interest, and still qualify
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 1     as petitioning activities.” Id. at *5 (citations and internal quotations omitted).
 2             The Shire City Herbals case is instructive here. The Asserted Statements made by
 3     Hybrid were made to resolve consumer confusion due to Hylete’s willful infringement.
 4     Hybrid’s Asserted Statements also directly led to and resulted in Hybrid filing the TTAB
 5     administrative proceeding against Hylete in October 2013 or were made pursuant to that
 6     proceeding. As explained above, Hylete was formed in April 2012, and Orlando has been
 7     battling consumer confusion ever since. Hybrid’s two public Asserted Statements posted
 8     on Facebook were made in response to this consumer confusion, and have been used as
 9     evidence in the TTAB and CT Action. See Mindys, 611 F.3dat 597 (applying the Anti-
10     SLAPP law to filings with the USPTO.). Orlando’s two public statements – which have
11     been proven true by the TTAB’s finding of likelihood of confusion – are de minimus.
12     Indeed, Orlando’s two limited comments in the face of actual confusion cannot be
13     compared to the outright campaign of Shire, which was still found to be protected under
14     Massachusetts’ Anti-SLAPP statute.
15             Moreover, Orlando’s three private statements to Robinson are unactionable and
16     were in furtherance of his rights of petition. As a trusted friend and advisor, it was
17     Robinson who first referred Orlando to an attorney for counsel regarding Hylete’s
18     infringement. Further, Robinson was not a potential investor or customer of Hylete – he
19     was averse to Wilson in a litigation following Wilson’s termination with JACO. Ex. 14.
20     Accordingly, the statements to Robinson are not actionable.
21             Finally, the two Asserted Statements made by a CrossFit employee have not been
22     shown to have been directed, controlled, solicited, or even influenced by Hybrid. Hylete
23     has taken multiple depositions of Hybrid (Orlando), CrossFit, and Saran in the TTAB and
24     CT Action, yet has never shown any involvement of Orlando in these Asserted
25     Statements. In fact, the testimony obtained proves Orlando was not involved.
26     Accordingly, they cannot be attributed to Hybrid or Orlando.
27             C. Hylete Has No Reasonable Probability of Success on the Merits
28             Hylete cannot survive the second step of the anti-SLAPP analysis because Hylete
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 1     cannot show a reasonable probability of success on the merits. “[A movant’s] anti-
 2     SLAPP motion should be granted when a [non-movant] presents an insufficient legal
 3     basis for the claims or when no evidence of sufficient substantiality exists to support a
 4     judgment for the plaintiff.” Metabolife Int’l, Inc. Wornick, 264 F.3d 832, 840 (9th Cir.
 5     2001) (citations and quotations omitted).
 6             Hylete cannot make the requisite showing here, as explained above. As an initial
 7     matter, Hylete cannot show any false statement of fact as all Asserted Statements are
 8     non-actionable opinion. See, e.g., Freecycle Network, Inc. v. Oey, 505 F.3d 898, 904-05
 9     (9th Cir. 2007) (finding statement regarding opponent’s lack of trademark rights to be “at
10     worst . . . an erroneous legal opinion” and not a false statement of fact because to date
11     “there ha[d] been no formal determination” as to the opponent’s trademark rights).
12     Moreover, the only statements at issue are those directly related to Hybrid’s TTAB
13     Opposition and thus are not actionable. Hybrid’s TTAB Trial Brief used, inter alia, the
14     Asserted Statements to evidence Hylete’s willful infringement and copying. Exs. 38; see
15     also Ex. 6 at ¶ 49 (filed on summary judgment). After multiple depositions of Orlando,
16     Saran, Castro, and Jentgen, Hylete still cannot identify a single false statement by
17     Orlando. The Asserted Statements have already proven to be true—Hylete’s logo is
18     improper and confusingly similar to Hybrid’s. After a full trial, the TTAB held there was
19     a likelihood of confusion between Hybrid’s logo and Hylete’s logo, and the Federal
20     Circuit affirmed. Ex. 3. The ongoing CT Action will further prove Hylete’s willful
21     infringement and copying, using the Asserted Statements as evidence. Hylete’s claims
22     were filed solely to retaliate against Hybrid for successfully seeking to protect and
23     enforce its registered and established trademark rights against Hylete and its founders for
24     their willful and intentional infringement. For these reasons, combined with the reasons
25     below in Section IV, the Court should strike Hylete’s pleading.
26             D. Litigation Privilege Bars Any Probability of Success
27             Counts 4-6 are barred by litigation privilege. “The litigation privilege is relevant to
28     the second step in the anti-SLAPP analysis in that it may present a substantive defense a
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 1     plaintiff must overcome to demonstrate a probability of prevailing.” Contreras v.
 2     Dowling, 5 Cal. App. 5th 394, 415 (2016) (citations omitted). California’s litigation
 3     privilege, which has been codified at California Civil Code § 47(b), “applies to any
 4     communication (1) made in judicial or quasi-judicial proceedings;3 (2) by litigants or
 5     other participants authorized by law; (3) to achieve the objects of the litigation; and (4)
 6     that have some connection or logical relation to the action.” Rusheen v. Cohen, 37 Cal.
 7     4th 1048, 1057 (2006) (citations omitted). “The breadth of the litigation privilege cannot
 8     be understated. It immunizes defendants from virtually any tort liability (including claims
 9     for fraud)[.]” Grant & Eisenhofer, P.A. v. Brown, No. 17-cv-5968-PSG, 2017 WL
10     6343506, at *5 (C.D. Cal. Dec. 6, 2017). In fact, anti-SLAPP motions targeting litigation
11     activity are routinely granted based on this privilege. See, e.g., Kulkarni v. Upasani, 659
12     F. App’x 937, 940 (9th Cir. 2016) (affirming Anti-SLAPP dismissal of various claims—
13     including defamation and intentional infliction of emotional distress—based on litigation
14     privilege); Blaha v. Rightscorp, Inc., No. 14-cv-9032-DSF, 2015 WL 4776888, at *3
15     (C.D. Cal. May 8, 2015) (granting Anti-SLAPP motion based on litigation privilege).
16             Further, “[i]t is not limited to statements made during a trial or other proceedings,
17     but may extend to steps taken prior thereto, or afterwards.” Rusheen, 37 Cal. 4th at 1057
18     (citations omitted). “‘It is also well settled that the absolute privilege in both judicial and
19     quasi-judicial proceedings extends to preliminary conversations and interviews between a
20     prospective witness and an attorney if they are some way related to or connected with a
21     pending or contemplated action.” Pettitt v. Levy, 28 Cal.App.3d 484 (1972); see also
22     Gallegos, 158 Cal. App. 4th at 958.
23             Here, the statements complained of by Hylete are judicially privileged. As shown
24     above, the Asserted Statements were made by Orlando leading up to or during the TTAB
25
26     3
         Judicial and quasi-judicial proceedings are defined broadly to include “‘all kinds of
27     truth-seeking proceedings,’ including administrative, legislative and other official
       proceedings.” People ex rel. Gallegos v. Pac. Lumber Co., 158 Cal. App. 4th 950, 958
28     (Feb. 1, 2008) (internal quotations omitted).
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 1     proceeding and Federal Circuit affirmation, as well as the CT Action. The Asserted
 2     Statements were made to combat consumer confusion, seek legal advice, and request
 3     Hylete to cease its infringing trademark activities. Each of the statements were the object
 4     of the TTAB opposition and the CT Action. The Asserted Statements were used in
 5     Hybrid’s TTAB trial brief to evidence consumer confusion and are currently being used
 6     in the CT Action to evidence Hybrid’s willful infringement and copying. As a result, the
 7     Asserted Statements have “some connection or logical relation” to the TTAB and CT
 8     Action. Furthermore, the statements have already been held to be true by TTAB
 9     (affirmed by the Federal Circuit), and will further be held to be true in the CT Action.
10             Accordingly, these communications are privileged, and Counts 4-6 fail.
11             E. Defendants Are Entitled to Costs and Attorneys’ Fees
12             A “prevailing defendant” on an anti-SLAPP motion “shall be entitled to recover
13     his or her attorney fees and costs.” Cal. Code Civ. P. § 425.16(c)(l); Ketchum v. Moses,
14     24 Cal. 4th 1122, 1133 (2001); Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1109 (9th
15     Cir. 2003). Defendants will file a motion establishing these amounts if this Motion is
16     granted and fees awarded.
17         IV.      All Counts in Hylete’s Complaint Fail Per Rule 12(b)(6)
18             A. Counts 1 and 2 Fail to Allege Fraud
19             Both of the allegations Hylete relies on for its fraud claims are demonstrably false
20     and do not meet the pleading standard. Hylete pleads that: (1) “[Hybrid] falsely declared .
21     . . that the mark in the ’469 Registration had been used on bottoms, headwear, and/or tops
22     by December 31 2008” and (2) “[Hybrid] and/or [Hybrid]’s attorney also tried to conceal
23     Blocking Registration No. 3656042 by making false statements to the USPTO.” (Dkt. 1
24     at ¶¶ 81, 83 (Count 1), 91, 93 (Count 2).) Neither of these statements are true or could
25     establish fraud.
26             First, Hybrid produced videos, blogs, and websites support use of its mark by its
27     filed first use date of December 31, 2008 in the CT Action. See Exs. 3, 54-56. In addition,
28     the TTAB found as fact that “[Hybrid] has demonstrated its first use . . . on clothing as
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 1     early as December 2008.” Ex. 3 at 9. Second, Hybrid has clearly showed use at least as
 2     early as 2008, Reg. No. 3656042 cannot be a “Blocking Registration.” Hybrid’s 2008 use
 3     predates the April 17, 2009 use for Reg. No. 3656042, leaving no question that Hybrid’s
 4         mark is entitled to protection and no fraud occurred. Finally, Hylete’s accusations are
 5     legally impossible because an erroneous first use date can never be fraud. “[I]f the mark
 6     was in use in commerce as of the filing date [of the application], then the claimed date of
 7     first use, even if false, does not constitute fraud because the first use date is not material
 8     to the Office’s decision to approve a mark for publication.” Hiraga v. Arena, 90
 9     U.S.P.Q.2d 1102 (T.T.A.B. 2009) (citations omitted); see 37 C.F.R. §2.83; TMEP §
10     1208.01. For the foregoing reasons,4 Counts 1-2 must be dismissed.
11             B. Counts 1 and 2 are Barred by Defendant Preclusion
12             Counts 1 and 2 should be dismissed as a “collateral attack on [a] district court’s
13     judgment.” Nasalok Coating Corp. v. Nylok Corp., 522 F.3d 1320 (Fed. Cir. 2008).
14     Hylete was denied leave in the CT Action to bring Counts 1 and 2 as a single Count in
15     the CT Action. Ex. 45 at Dkt. 180-2 at 46 ¶¶ 132, 134; Ex. 43. In view of an unfavorable
16     decision, Hylete now subverts the CT Court by filing its claim again here, thereby
17     wasting this Court’s resources. Counts 1 and 2 are therefore a collateral attack on the CT
18     Court’s judgement. Therefore, these claims should be dismissed.
19             C. Counts 3-6 Fail to State a Claim
20             1. Counts 3-6 are Barred by Litigation Privilege
21             For the same reasons discussed above with respect to Counts 4-6 in Section III.D,
22     litigation privilege also bars the assertion of Counts 3-6.
23             2. Count 3 Fails to State a Claim
24             Hylete’s allegations of false advertising under the Lanham Act state mere legal
25
26     4
         To the extent Hylete plead that any knowledge of Hylete’s mark forms the basis of
27     fraud, a senior user (Hybrid) need not identify use by a junior user (Hylete) in a
       trademark application. See Intellimedia Sports Inc. v. Intellimedia Corp., Canc. No. 24,
28     801, 1997 WL 398344, at *4 (T.T.A.B. May 20, 1997).
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 1     conclusions and are devoid of any factual allegations. There are five elements to a false
 2     advertising claim under Section 43(a) of the Lanham Act: “(1) the defendant made a false
 3     statement of fact about a product in a commercial advertisement, (2) the statement
 4     actually deceives or has the tendency to deceive a substantial segment of its audience, (3)
 5     the deception is material, (4) the defendant caused the false statement to enter interstate
 6     commerce, and (5) the plaintiff has been or is likely to be injured as a result of the false
 7     statement.” Appliance Recycling Centers of Am., Inc. v. JACO Envtl., Inc., 378 F. App'x
 8     652, 654 (9th Cir. 2010). Hylete has failed to state a claim that is plausible on its face.
 9             As explained above, Hylete has failed to show that any Asserted Statement was
10     false or actionable. See Freecycle, 505 F.3d at 904-05. Rather, the Asserted Statements
11     have already proven to be true by the TTAB in holding that Hylete’s logo is confusingly
12     similar to Hybrid’s. These statements will also be held to be true in the CT Action. As a
13     result, Hylete also did not allege or identify a single person that was actually deceived or
14     had the tendency to be deceived by any of the Asserted Statements—because Hylete
15     can’t. Hylete further failed to allege any specific damage or injury, or any improper
16     motive or malice concerning Mr. Orlando’s discussion of infringement with consumers.
17     Rather, the record supports that Hylete has created confusion in the marketplace, and it is
18     Hybrid that has suffered from Hylete’s actions.
19             Further, Hylete failed to show that any of the Asserted Statements were in a
20     commercial advertisement. “[T]he touchstone of whether a defendant’s actions may be
21     considered commercial advertising or promotion under the Lanham Act is that the
22     contested representations are part of an organized campaign to penetrate the relevant
23     market. Proof of widespread dissemination within the relevant industry is a normal
24     concomitant of meeting this requirement. Thus, “businesses harmed by isolated
25     disparaging statements do not have redress under the Lanham Act; they must seek redress
26     under state-law causes of action.” Fashion Boutique of Short Hills, Inc. v. Fendi USA
27     Inc., 314 F.3d 48, 57 (2nd Cir. 2002); see also Walker & Zanger, Inc. v. Paragon Indus.,
28     Inc., 549 F. Supp. 2d 1168, 1182 (N.D. Cal. 2007) (“A handful of statements to
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 1     customers does not trigger protection from the Lanham Act.”); Maximum Availability
 2     Ltd. v. Vision Sols., Inc., No. 10-cv-1488-GW(RZX), 2011 WL 13176820, at *9 (C.D.
 3     Cal. Dec. 12, 2011) (finding no commercial advertising or promotion where the “[t]he
 4     only evidence in the record is of six customers or potential customers (in a U.S. market of
 5     6,000 to 40,000, according to Plaintiff's own estimate) who actually received one or more
 6     of the [complained-of statements].”). As shown above, not only are the Asserted
 7     Statements not actionable, “the statements that [Hylete] points to as defamatory or
 8     disparaging . . . are unmistakably isolated in nature. There is no proof of widespread
 9     dissemination, as is required to maintain a claim for false advertising under the Lanham
10     Act.” (Id.) (internal quotations omitted). Hylete has also failed to show any statement
11     entered interstate commerce. Accordingly, Hylete has provided no proof the alleged
12     statements were published in a commercial advertisement.
13              Therefore, Hylete’s false advertising claim under the Lanham Act claim is
14     deficient and should not be allowed to proceed.
15              D. All Counts Are Barred by Statutes of Limitations or Laches
16              Hylete’s claims are barred by statutes of limitations or laches. The statute of
17     limitations for the fraud (Counts 1 and 2) and Connecticut unfair competition (Count 5)
18     claim is three years, as is the analogous presumed laches period for the Lanham Act
19     claim (Count 3). Cal. Code Civ. P. § 338(d); Conn.Gen.Stat. § 42-110(g). The California
20     unfair competition claim (Count 4) is barred after four years and the tortious interference
21     (Count 6) claim is barred after two years. Cal. Code Civ. P. §§ 17208, 339. All the
22     statements complained of were made over four years ago. Accordingly, these claims are
23     barred.
24         V.       Conclusion
25              For the foregoing reasons, Counts 1-6 should be dismissed under Rule 12(b)(6),
26     and/or Counts 4-6 should be stricken under Cal. Code Civ. P. § 425.16. Further, because
27     any amendment would be futile, the Court should dismiss the Complaint with prejudice.
28     Gabrielson v. Montgomery Ward & Co., 785 F.2d 762, 766 (9th Cir. 1986).
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